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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF ILLINOIS


   MARK HALE, TODD SHADLE,      *
   and LAURIE LOGER, on behalf of
                                *
   themselves and all others similarly
                                *
   situated,                    *
                                *
             Plaintiffs,        *
                                *
   v.                           *                       No. 3:12-cv-00660-DRH-SCW
                                *
   STATE FARM MUTUAL AUTOMOBILE *                       Judge David R. Herndon
   INSURANCE COMPANY, et al.    *                       Magistrate Judge Stephen C. Williams
                                *
             Defendants.        *
                                *

                OBJECTION TO PROPOSED CLASS ACTION SETTLEMENT,
                   ATTORNEY’S FEE AWARD AND SERVICE AWARDS

          Lisa D. Marlow, a class member, hereby objects to the proposed settlement, Class

   Counsel’s request for attorneys’ fees and the named Plaintiffs’ request for incentive awards.1

                                          INTRODUCTION

          Plaintiffs’ injuries and the damages to the class are well-known – they lost a $1.05 billion

   appellate court judgment, plus interest and statutory trebling. According to Plaintiffs’ own expert,

   the total damages to the class are approximately $7.4 billion. Plaintiffs, represented by a number

   of nationally-known Plaintiffs’ law firms and legal scholars, litigated the case for more than six

   years. The record shows they were well-situated to succeed at trial. For example, they had:

                  □ defeated three separate motions to dismiss by the Defendants;




          1
           Mrs. Marlow is a citizen of the State of Florida. Her address is 6710 Hundred Acre
   Drive, Cocoa, FL 32927. Her telephone number is 321-960-5009. Marlow is not one of those
   persons excluded from the Class as provided in the class notice. She has submitted a claim, #
   Q82MCKSW.
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                  □ defeated a mandamus appeal by the Defendants in the United States Court of
                  Appeals for the Seventh Circuit (“Seventh Circuit”);

                  □ obtained certification of a nationwide class;

                  □ defeated two separate Fed. R. Civ. P. 23(f) appeals of the class certification
                  order;

                  □ amassed substantial evidence to prove their RICO claims through dozens of
                  depositions and voluminous written and documentary discovery;

                  □ defeated two separate motions for summary judgment;

                  □ repeatedly defeated the Defendants’ motions to exclude testimony by Plaintiffs’
                  experts;

                  □ successfully moved the Court to exclude the testimony of some of the
                  Defendants’ experts;

                  □ largely defeated the Defendants’ efforts to exclude mounds of trial evidence;

                  □ succeeded in moving to exclude a substantial portion of the Defendants’
                  evidence via dozens of motions in limine; and lastly,

                  □ succeeded in impaneling what they obviously believed was a favorable jury.

          Having achieved such enormous success in litigating the case, Plaintiffs and Class

   Counsel now seek to convince the Court that their RICO claims were not nearly as strong as it

   objectively appears, and that the case was vulnerable to various defenses that had already been

   repeatedly rejected by this Court and the Seventh Circuit. These self-serving arguments are a far

   cry from the positions espoused in their recent summary judgment briefing [Docs. 729-730],

   where they vigorously extolled the strength of the evidence backing the RICO claims.

          Despite their successes, Class Counsel seize on the risk factor, arguing that they were not

   out of the woods yet, as they still had to win at trial, survive post-trial motions and successfully

   defend this Court’s decisions on class certification, summary judgment and the jury verdict on

   appeal. But the record, including the fact that the Seventh Circuit left this Court’s prior decisions



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   intact, indicates Plaintiffs have overstated the risk that a favorable judgment could be overturned.

   Seen in this light, the $250,000,000 settlement – achieved despite substantial evidence

   supporting the RICO claims and damages of $7,400,000,000 – is a poor result for the class.

          Next, Class Counsel – a group of nine law firms – seek attorney’s fees of over $83

   million, fully one-third of the gross settlement, along with $6,971,852.80 in litigation expenses.

   Class Counsel’s fee request disregards the prevailing law in this Circuit, which has long-

   approved a downward-scaling approach to fees in megafund settlements like this one whereby

   the percentage of the settlement devoted to attorney’s fees decreases as the dollar value of the

   settlement fund increases.2 In megafund cases, the Seventh Circuit has determined that“[a]n

   award fixed at 27.5% of a $200 million fund is exceptionally high” and also “at the outer limits

   of reasonableness.” Silverman v. Motorola Solutions, Inc., 739 F.3d 956, 958 (7th Cir. 2013). If

   the Seventh Circuit believes 27.5% of $200 million is “exceptionally high” and at the “outer

   limits of reasonableness,” surely one-third of $250 million falls well beyond those limits. As set

   forth below, Mrs. Marlow submits that an award of $54,549,692.38 (which equates to 21.81% of

   the settlement) is a reasonable award.

          Third, although Plaintiffs seek service awards of $25,000 for their efforts, no plaintiff

   submitted so much as a declaration attesting to his or her efforts on behalf of the class, much less

   how the class benefitted from such efforts or how much time was expended on the case. Nothing

   in the record justifies such large awards. Accordingly, if the settlement receives final approval,

   each named Plaintiff should be awarded not more than $5,000.




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            See, e.g., In re Synthroid Marketing Litig., 325 F.3d 974, 980 (7th Cir. 2003) (awarding
   30% of first $10 million; 25% from next $10-$20 million; 22% from $20-$46 million; and 15%
   of the remainder).
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          Finally, if a person did not receive a postcard notifying him or her of class membership,

   any class member who chooses to object to the settlement must produce “proof of class

   membership.” This requirement is unreasonable (given the required documentation would be

   20-31 years old) and overly burdensome, stifling claims by otherwise legitimate class members

   and precluding them from participating in the settlement or the determination of its fairness.

                          STANDARDS FOR SETTLEMENT APPROVAL

          The Seventh Circuit has identified several factors that a Court may consider in evaluating

   the fairness of a class action settlement. A court in this Circuit

                  must consider ‘the strength of plaintiffs’ case compared to the
                  amount of defendants’ settlement offer, an assessment of the likely
                  complexity, length and expense of the litigation, an evaluation of
                  the amount of opposition to the settlement among affected parties,
                  the opinion of competent counsel, and the stage of the proceedings
                  and the amount of discovery completed at the time of settlement.’

   Synfuel Technologies, Inc. v. DHL Express (USA), Inc., 463 F.3d 646, 653 (7th Cir. 2006).

                                             OBJECTIONS

          A.      The Settlement is Inadequate, Unfair and Unreasonable in View of the
                  Strength of Plaintiffs’ Case, Their Actual Damages, Interest and Automatic
                  Statutory Trebling and Amount of the Settlement.

          The most important factor in determining whether a settlement satisfies Rule 23 is the

   “strength of plaintiffs’ case on the merits balanced against the amount offered in the settlement.”

   Synfuel Techs., 463 F.3d at 653 (citations omitted). Specifically, the court must “estimate the

   likely outcome of a trial” to determine the adequacy of a settlement. Eubank v. Pella Corp., 753

   F.3d 718, 727 (7th Cir. 2014), but should not “reject[]” a settlement “solely because it does not

   provide a complete victory to plaintiffs,” for “the essence of settlement is compromise.” Isby v.

   Bayh, 75 F.3d 1191, 12900 (7th Cir. 1996) (internal quotation marks omitted). An acceptable

   settlement is, therefore, properly “a bilateral exchange . . . where both sides gain as well as lose

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   something.” In re Gen. Motors Corp. Engine Interchange Litig., 594 F.2d 1106, 1135 (7th Cir.

   1979) (internal quotation marks omitted).

                  1.      The strength of Plaintiffs’ case was overwhelming.

          Of course, there were no guarantees that Plaintiffs would have succeeded at trial and

   recovered a judgment exceeding the amount of the proposed settlement, but the evidence they

   constructed ahead of the trial – based upon Class Counsel’s own trumpeting of it – and their

   string of evidentiary victories largely undermining Defendant’s case demonstrate Plaintiffs likely

   would have obtained favorable verdict at trial. For example, Class Counsel characterized

   Plaintiffs as having amassed “substantial proof” and “a wealth of evidence to prove” their RICO

   claims [Doc. 729, Page ID #22883], which would establish “[t]he Defendants perpetrated an

   extraordinary scheme to cheat its insureds and to subvert the judiciary at the highest level.”

   [Doc. 729, Page ID #22884].

                  2.      Plaintiffs and Class Counsel have put forth expert testimony that this
                          case is worth no less than $7.4 billion, including the lost $1.05 billion
                          judgment, interest and RICO trebling.

          Not only were Plaintiffs and Class Counsel highly confident they had amassed the

   evidence to prove their version of the facts and their RICO claims, but their damage calculation

   was so straightforward it left the jury (or the Court) with few, if any, alternatives but to award

   damages for the lone injury suffered by the class (loss of the $1.05 billion judgment) and add on

   post-judgment interest from the date of the original judgment in 1999. Moreover, any award

   would be automatically trebled under 18 U. S. C. § 1964(c).

          Plaintiffs’ expert, Mr. Thomas Myers, a preeminent expert in the field of fraudulent

   financial transactions – who trains federal agents on how to track and discover fraudulent




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   financial transactions [Doc. 847, at Page ID#: 37233-37234] – stated the following with respect

   to Plaintiffs’ damages:

                  I have performed a calculation by taking the amount of the
                  judgment of $1,056,636,180, after remitter by the Illinois
                  Appellate Court, added statutory post-judgment simple interest
                  from the date of the underlying judgment at the trial court,
                  continuing through May 1, 2015, at the statutory rate of 9%, and
                  trebled the total amount for RICO to arrive at a total damages
                  amount of $7,612,643,917.

   [Doc. 472, at Page ID: 10073-10074] (citing Expert Rpt. of Thomas A. Myers at 66).

          The $250 million settlement is a far cry from, over 96% less than, the $7.4 billion Myers

   projects. It isn’t unusual, of course, for a plaintiff to settle for an amount less than he might

   reasonably expect to recover. After all, settlement is, by definition, a compromise. However, in

   this instance, the compromise proposed must be viewed more skeptically because of the nature

   of the injury to the Plaintiffs and class. In other words, if the Plaintiffs’ evidence could establish

   the RICO violations they allege, and Class Counsel repeatedly told this Court that was the case,

   because the sole injury was the loss of the $1.05 billion judgment and the post-judgment interest

   lost since 1999, the jury would have been hard-pressed to consider a different amount. And that

   amount, whatever it was, would have been automatically trebled by the Court. Thus, before

   prejudgment interest, the damages would have been no less than $3.15 billion, over twelve times

   the amount of the proposed settlement.

                  3.      Plaintiffs’ and Class Counsel’s assessment of the risks taken is
                          unconvincing.

          As with many class action settlements, in this case, once the settlement was reached, the

   parties’ respective positions about the relative strengths and weaknesses of their claims or

   defenses took a 180-degree turn, with Class Counsel dramatically down-playing the strength of




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   the “substantial proof” and “wealth of evidence” they had amassed and arguing the risks of a trial

   was too great to avoid settlement of their claims.

          Plaintiffs incredulously maintain they faced the same risks at trial as they faced at the

   outset of the case – Rooker-Feldman, res judicata, collateral estoppel, the statute of limitations

   and Noerr-Pennington – and risked the possibility Defendants might prevail on appeal. [Doc.

   953, at Page ID #40467-68]. But, the Court ruled in their favor (more than once) on each one of

   the controlling legal issues. [Doc. 953, at Page ID #40464]. Even more importantly,

   Defendants’ Rooker-Feldman, res judicata, collateral estoppel, statute of limitations and Noerr-

   Pennington arguments all made their way to the Seventh Circuit, as did the Court’s class

   certification order, and on each occasion, Plaintiffs were the victors. [Doc. 729, at Page ID

   #22884].

          Plaintiffs’ response to Defendants’ second motion for summary judgment impressively

   details the evidence demonstrating how State Farm recruited Judge Karmeier, organized his

   campaign, arranged financing for the campaign and secretly funneled millions of dollars to it.

   [Doc. 729, Page ID: Page ID #22884-22901]. It also details the evidence supporting Defendants’

   RICO violations. [Id., Page ID #22901-22905].

          By any reasonable account, Plaintiffs’ fears are feigned, designed only to cloak the

   strength of their case as a means to settle their claims more cheaply, allowing Class Counsel to

   recover an astronomical and unprecedented fee.

          B.      Class Counsel’s $83 Million Fee Request – One-Third of the Gross Settlement
                  Fund – Is Unreasonable in This Megafund Settlement.

          Next, Class Counsel seek one-third of the $250 million settlement as their attorneys’ fees.

   [Doc. 954]. This Court owes the class its efforts to scrutinize Class Counsel’s request, and not

   rubber-stamp it. The Seventh Circuit has “described the district judge as a fiduciary of the class,

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   who is subject therefore to the high duty of care that the law requires of fiduciaries.” Pearson v.

   NBTY, Inc., 772 F.3d 778, 780 (7th Cir. 2014) (internal quotation marks omitted).3

          “[A]ttorneys’ fees in class actions should approximate the market rate that prevails

   between willing buyers and willing sellers of legal services.” In re Akorn, Inc. Secs. Litig., 2018

   U.S. Dist. LEXIS 93874, at *3-4 (N.D. Ill. June 5, 2018) (quoting Silverman v. Motorola Sols.,

   Inc., 739 F.3d 956, 957 (7th Cir. 2013)). It follows that the district court “must set a fee by

   approximating the terms that would have been agreed to ex ante, had negotiations occurred.”

   Americana Art China Co., Inc. v. Foxfire Printing & Packaging, Inc., 743 F.3d 243, 246-47 (7th

   Cir. 2014) (internal quotation marks omitted); see also In re Synthroid Mktg. Litig., 264 F.3d

   712, 718 (7th Cir. 2001) (“Synthroid I”) (“[C]ourts must do their best to award counsel the

   market price for legal services, in light of the risk of nonpayment and the normal rate of

   compensation in the market at the time.”).

          Ultimately, the Court must determine the rate for Class Counsel’s services by

   “estimat[ing] the terms of the contract that private plaintiffs would have negotiated with their

   lawyers had bargaining occurred at the outset of the case (that is when the risk of loss still

   existed).” Synthroid I, 264 F.3d at 718.4 In determining the “market rate,” the Court is required

   to look at factors such as: (1) actual fee contracts that were previously negotiated for similar

   litigation; (2) information from other cases; and (3) the amount of legal work involved, the risks




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            “A district court is certainly empowered to reduce a fee request sua sponte, and indeed it
   has an independent obligation to scrutinize the legitimacy of such a submission.” Jaffee v.
   Redmond, 142 F.3d 409, 416 n.2 (7th Cir. 1998) (internal quotation marks omitted).
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           Ultimately, “it is the fee applicant’s burden to establish his or her market rate; if the
   applicant fails, the district court may make its own rate determination.” In re Southwest Airlines
   Voucher Litig., 2014 U.S. Dist. LEXIS 84072, *10 (N.D. Ill. June 20, 2014) (citing Johnson v.
   GDF Inc., 668 F.3d 927, 933 (7th Cir. 2012)).
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   of non-payment and the quality of legal services rendered. See Williams v. Rohm & Haas

   Pension Plan, 658 F.3d 629, 634 (7th Cir. 2011), cert. denied, 132 S. Ct. 1911 (2012); Synthroid

   I, 264 F.3d at 721.

                  1.      Actual fee contracts – little or no weight should be afforded Class
                          Counsel’s 40% contingency agreement with Plaintiffs.

          Here, each of the three named Plaintiffs purportedly signed a contingency-fee contract

   with Class Counsel calling for a forty percent (40%) fee plus costs. [Nelson Decl. ¶ 11, Doc.

   954, Page ID#: 40490]. However, the Court must be mindful that the 40% contingency-fee

   contracts negotiated between Class Counsel and the named Plaintiffs are probably not reflective

   of what would likely be hypothetically charged in a class action specifically if negotiated with

   the entire class. See In re Trans Union Corp. Privacy Litig., No. 00 C 4729, 2009 WL 4799954,

   at *11 (N.D. Ill. Dec. 9, 2009); Mezyk v. U.S. Bank Pension Plan, No. 3:09-CV-384-JPG-DGW

   (S.D. Ill. Nov. 5, 2012), Doc. 159 at 5. There is an inherent difference in negotiating a

   contingency-fee contract with a single plaintiff and negotiating a contingency-fee contract with a

   plaintiff class where the anticipated recovery will differ substantially. Mezyk,, Doc. 159 at 2.

          Class Counsel tout the opinion of one of their experts, Brian Fitzpatrick, who opines that

   “Class Counsel’s request for 33.33% is not only a good approximation of what class members

   would have agreed to, but it is a very conservative one.” [Fitzpatrick Decl. ¶ 16, Doc. 954, at

   Page ID#: 40490]. But here, the record does not suggest that Class Counsel would have been

   negotiating in a completely non-competitive market. As one Court in this Circuit recently

   observed:

                  in a hypothetical bargaining situation, well-informed class
                  members would also be aware that the sliding-scale structure is, as
                  Professor Rubenstein says, “often used in Seventh Circuit cases,”
                  Rubenstein Decl. at 3, and likely would shop around to see if any
                  other firm would be willing to take their case and pursue a large

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                recovery for a sliding-scale fee. It is not clear that the hypothetical
                class members in this case would be faced with the binary choice
                between a high-percentage fee with a large recovery, on the one
                hand, and a sliding-scale fee for a small recovery, on the other.
                Just as hypothetical plaintiffs may be willing to accept a higher fee
                percentage for a larger absolute recovery, it is also likely, all else
                being equal, that they would prefer the sliding-scale approach to a
                higher flat rate if both hypothetical law firms were willing and able
                to pursue a large recovery. In short, although it is possible that a
                hypothetical bargain would result in an agreement for a flat rate, it
                seems no more probable than an agreement for a sliding-scale rate,
                and thus the Court sees no reason to depart from the sliding-scale
                approach that, as noted, appears to have become the standard
                model in this circuit for cases of this type.

 Aranda v. Caribbean Cruise Line, Inc., No. 12 C 4069, 2017 U.S. Dist. LEXIS 52645, at *17-18

 (N.D. IL Apr. 6, 2017).

                2.      Information from other cases does not support a fee of one-third of the
                        $250 million settlement.

        In megafund5 cases, the Seventh Circuit focuses on the market rates of legal services and

 considers fee-percentages awarded in other megafund cases. See Synthroid I, 264 F.3d at 718.

 Many of these cases rely on empirical studies that confirm a strong tendency toward a

 downward-scaling effect of fees as the amount of the settlement increases. These studies find

 that mean/median percentage awards in megafund cases lie between ten and twelve percent, a far

 cry from the 33⅓% sought here. The Seventh Circuit has found such evidence very persuasive.

 For example, in its most recent articulation of the fee standard, the Court observed that the

 relevant “[d]ata” – including those studies – reveal that “[a]n award fixed at 27.5% of a $200

 million fund is exceptionally high” and “at the outer limits of reasonableness.” Silverman v.




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         “Mega-fund” cases are those cases where the recovery exceeds $100 million. See In re
 Actos (Pioglitazone) Prods. Liab. Litig., 274 F. Supp. 3d 485, 524 (W.D. La. 2017).
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 Motorola Solutions, Inc., 739 F.3d 956, 958 (7th Cir. 2013). If 27.5% is at the “outer limits of

 reasonableness,” then 33⅓% is well-beyond those limits.

                             The sliding-scale structure is the standard

        Although in Silverman, the Court approved a flat-rate award, it did so only after

 approving the sliding-scale approach adopted in Synthroid II. 739 F.3d at 959. There can be

 little doubt the sliding-scale structure is now the standard model for cases like this in this Circuit.

 Aranda v. Caribbean Cruise Line, Inc., No. 12 C 4069, 2017 U.S. Dist. LEXIS 52645, at *14

 (N.D. IL Apr. 6, 2017). Try as they may, Class Counsel cannot undo the Seventh Circuit’s

 adoption of this standard in megafund cases. See Synthroid II, 325 F.3d at 978-980; Silverman,

 739 F.3d at 959.

        Class Counsel contend that it would be inappropriate to apply the sliding scale in this

 case. But Class Counsel’s request for a flat percentage ignores the Seventh Circuit’s repeated

 observation that negotiated fee agreements regularly apply a sliding scale in which the

 percentage devoted to attorney’s fees decreases as the dollar value of the settlement fund

 increases. See Gehrich v. Chase Bank United States, 2016 U.S. Dist. LEXIS 26184, at *49 (N.D.

 Ill. Mar. 2, 2016) (citing Silverman, 739 F.3d at 959); Synthroid II, 325 F.3d at 978-80. The

 Seventh Circuit has described the sliding-scale approach as follows:

                Awarding counsel a decreasing percentage of the higher tiers of
                recovery enables them to recover the principal costs of litigation
                from the first bands of the award, while allowing the clients to reap
                more of the benefit at the margin (yet still preserving some
                incentive for lawyers to strive for these higher awards).

 Silverman v. Motorola Solutions, Inc., 739 F.3d 956, 959 (7th Cir. 2013).

        In Synthroid II, the Seventh Circuit awarded attorney fees in the amount of 30% of the

 first $10 million of the class settlement, 25% of the second $10 million, and 22% of the amount



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 between $20 million and $46 million. 325 F.3d at 980. Applying the Synthroid II scale to the

 properly calculated settlement fund ($242,953,147.2) in this case yields a fee of $54,549,692.38

 (30% of first $10 million ($3,000,000); 25% of second $10 million ($2,500,000); and 22% of the

 amount between $20 million and $242,953,147.20 ($49,049,692.38), a savings of

 $28,783,640.62 to the class.

        That award amounts to approximately 22.5% of the properly calculated settlement fund

 ($242,953,147.2) (after deductions for expenses and service awards), or 21.8% of the gross

 settlement ($250 million), both substantially higher than the mean percentage (17.9%) and the

 median percentage (16.9%) that Fitzpatrick found in class settlements between $100 million and

 $250 million. See Brian T. Fitzpatrick, An Empirical Study of Class Action Settlements and

 Their Fee Awards, 7 J. Empirical Legal Stud. 811, 839 (2010).6

                 If the Court chooses to award a flat-percentage, the percentage
                      must comport to a reasonable fee in a megafund case

        Class Counsel’s reference to fee awards in other “multi-million dollar settlements” is, to

 put it mildly, not persuasive. [Doc. 954, Page ID#: 40491]. This is a quarter billion dollar

 megafund settlement, and while “[c]ourts in this Circuit regularly award fees of 33.33% or

 higher” [Doc. 954, Page ID#: 40491-93], the comparison is apples to oranges. It is not disputed

 that awards of about 30% are not unusual in the Seventh Circuit in common fund cases in which

 recovery is less than $10 million. See, e.g., Taubenfeld v. Aon Corp., 415 F.3d 597, 598-600 (7th

 Cir. 2005) (holding that district court was within its discretion in awarding lead counsel 30% of a




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         They also substantially exceed the mean percentage (12%) and the median percentage
 (10.2%) found in class settlements between $100 million and $250 million in Theodore
 Eisenberg’s and Geoffrey Miller’s 2010 study. Theodore Eisenberg & Geoffrey P. Miller,
 Attorney Fees and Expenses in Class Action Settlements: 1993-2008, 7 J. Empirical Legal
 Studies 248, 265 (2010).
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 $7.25 million settlement fund). Courts in the Seventh Circuit even regularly allow attorneys to

 recoup one-third of the first $10 million of the settlement fund. See, e.g., Synthroid II, 325 F.3d

 at 980 (“We . . . give consumer class counsel 30% of the first $10 million . . . .”); Craftwood

 Lumber Co. v. Interline Brands, Inc., No. 11 C 4462, 2015 U.S. Dist. LEXIS 35421, at *4 (Mar.

 23, 2015) (awarding plaintiffs’ counsel a sliding scale contingency fee including thirty percent of

 the first ten million dollars of the settlement). But megafund settlements are different.

        “Larger common funds are typically associated with smaller percentage awards, however,

 because even a small percentage of a very large fund yields ‘a very large fee award.’” In re

 Black Farmers Discrimination Litigation, 856 F. Supp.2d 1, 39 (D.D.C. 2011) (quoting Wal-

 Mart Stores, Inc. v. Visa U.S.A., Inc., 396 F.3d 96, 122 (2d Cir. 2005)). “Where the common

 fund is worth many millions or even billions of dollars – in so-called ‘megafund’ cases – an

 appropriate fee may be considerably less than twenty percent of the fund.” Id. See, e.g., In re

 High-Tech Employee Antitrust Litig., No. 11-cv-02509-LHK, 2015 WL 5158730, at *13 (N.D.

 Cal. Sept. 2, 2015) (“accepting that the median attorney's fees award in a sample of 68

 ‘megafund’ class action settlements over a 16-year period was 10.2%, an award here of 9.8% is

 reasonable”); Alexander v. FedEx Ground Package Sys., No. 05-cv-00038-EMC, 2016 U.S. Dist.

 LEXIS 78087 (N.D. Cal. June 15, 2016) (16.4% of common fund consistent with the higher end

 of awards in megafund cases); In re Vitamins Antitrust Litig., 2001 U.S. Dist. LEXIS 25067,

 2001 WL 34312839, at *6 (D. D.C. July 16, 2001) (in cases of recoveries of $100 million plus,

 “fees of fifteen percent are common”); In re Prudential Ins. Co., 148 F.3d 283, 339 (3rd Cir.

 1998) (fee awards in class actions with recoveries exceeding $100 million “ranged from 4.1% to

 17.92%.”).




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        Here, the two megafund cases relied upon by Class Counsel in which courts awarded fees

 of one-third of the settlement fund are easily distinguished and unpersuasive. In both cases,

 Standard Iron Works v. ArcelorMittal, No. 08 C 5214, 2014 WL 7781572, at *1 (N.D. Ill. Oct.

 22, 2014) (a $163.9 million settlement) and City of Greenville v. Syngenta Crop Prot., Inc., 904

 F. Supp. 2d 902, 908–09 (S.D. Ill. 2012) (a $105 million settlement) there was not a single class

 member that objected, nor was there an appeal of the settlement or fee award to the Seventh

 Circuit.

        In the face of Silverman, Class Counsel still maintain “[t]here is no sound reason to limit

 the attorneys’ fee percentage in a megafund case such as this.” [Doc. 954, at Page ID#: 40495].

 Although they attempt to distinguish both the analysis and the result in Silverman [Doc. 954,

 Page ID #40495], there is little, if anything, to warrant a distinction. In Silverman, the Seventh

 Circuit observed that it is “hard to justify awarding counsel as much of the second hundred

 million as of the first. The justification for diminishing marginal rates applies to $50 million and

 $500 million cases too, not just to $200 million cases.” Silverman, 739 F.3d at 959.

        Indeed, empirical studies – including a study by Class Counsel’s own expert, Professor

 Fitzpatrick, confirm this now-settled rule. See Brian T. Fitzpatrick, “An Empirical Study of

 Class Action Settlements and Their Fee Awards,” 7 J. Empirical Legal Stud. 811, 839 (2010);

 Theodore Eisenberg & Geoffrey P. Miller, “Attorney Fees and Expenses in Class Action

 Settlements: 1993-2008,” 7 J. Empirical Legal Stud. 248, 265 (2010). These studies, relied upon

 by the Seventh Circuit, convincingly confirm the percentage of the settlement allocated to

 attorney fees tends to decrease as the total size of the settlement increases. See Silverman, at

 958.




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                3.      The legal services rendered should be scrutinized.

        Given the complexity of this litigation, it undoubtedly took highly qualified attorneys

 performing at a high quality level to go head-to-head with one of the largest companies in the

 United States. However, whatever methodology the Court decides to use, given the incredibly

 high lodestar disclosed by Class Counsel [Doc. 954, at Page ID#: #40497], the Court should

 request their full billing records in order to determine if the hours listed were reasonable and/or if

 the time summary includes duplication and redundant work. See Rose v. Bank of America, No.

 11-cv-02390, 2014 WL 4273358 (N.D. Cal. Aug. 29, 2014). It should be incumbent upon the

 Court to satisfy itself that the hours devoted to briefing, hearings, settlement negotiations,

 mediation, and settlement briefing are not duplicative or excessive. Rose, at *23.

                4.      Class Counsel vastly overstate the risks of proceeding to trial with the
                        evidence they amassed during over six years of litigation.

        Class Counsel argues that “this case was about as risky as a case could be.” [Doc. 954, at

 Page ID#: 40492-40493] (pointing to “approximately 100 contested motions,” that Class Counsel

 “navigated a veritable minefield of legal and factual challenges, certified a nationwide class,

 survived motions to dismiss, motions for summary judgment, and three trips to the Seventh

 Circuit, and took the case through the beginning of trial”).

        Class Counsel argue that their $83 million fee request is justified because this suit was

 unusually risky. This argument is belied by the fact that, as the case progressed, more and more

 law firms and attorneys began appearing on behalf of Plaintiffs and the putative Class. In other

 words, when this suit got under way, four of the original Avery plaintiffs’ law firms were listed

 as attorneys. There is no evidence that the plaintiffs’ bar saw this litigation as “too risky” for

 their practices. Indeed, the docket evidences that while four law firms filed the original RICO

 action in May 2012, as the case progressed, additional law firms and attorneys joined in to

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 represent the Plaintiffs, and that by the time the case settled, seven additional law firms had

 appeared for the Plaintiffs and at least thirty-nine (39) attorneys entered appearances in the case

 for the Plaintiffs. Even early on in the case, reputable, prominent and nationally-known

 Plaintiffs’ law firms – class action powerhouses Hausfeld LLP and Lief Cabraser, and well-

 known Chicago mainstays Much Shelist and Clifford Law Offices – joined the case on behalf of

 Plaintiffs. A significant indication of the viability and strength of the Plaintiffs’ RICO claims is

 the appearance of University of California at Berkley Law School Dean Erwin Chemerinsky,

 who is considered one of the foremost and preeminent legal scholars of our time.

        C.      Service Awards ($25,000) Are Excessive.

        Three Plaintiffs seek incentive awards of $25,000.         The Seventh Circuit recognizes

 incentive awards as “justified when necessary to induce individuals to become named

 representatives.” Synthroid I, 264 F.3d at 722. In determining whether an award is appropriate,

 and, if so, in what amount, the Court looks to “the actions the plaintiff has taken to protect the

 interests of the class, the degree to which the class has benefitted from those actions, and the

 amount of time and effort the plaintiff expended in pursuing the litigation.” Cook v. Niedert, 142

 F.3d 1004, 1016 (7th Cir. 1998).

        Here, not one of the named Plaintiffs submitted a declaration attesting to his or her efforts

 on behalf of the class, much less how the class benefitted from such efforts or how much time

 was expended on the case. Moreover, there is nothing to indicate that the named Plaintiffs

 required such an award to participate in the case. By any reasonable account, a review of the

 record reveals that the named Plaintiffs’ involvement in the case prior to settlement does not

 justify the requested $25,000 incentive award per Class Representative. In light of the degree of




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 their participation in the case and the amount of time and effort they appear to have expended, if

 the settlement receives final approval, each named Plaintiff should be awarded $5,000.

         D.      Objection Process Is Burdensome, as Few Class Members Could be Expected
                 to Retain Documents for 20 to 31 Years.

         If you did not receive a postcard notifying you of your membership in the class, any class

 member who chooses to object to the settlement must produce “proof of class membership.” To

 think that class members would retain such documentation for a period of twenty (20) to thirty-

 one (31) years is an unrealistic burden. Moreover, this burden was not imposed on all claimants

 and therefore constitutes an unfair double-standard.7 Saddling objectors with burdens not

 imposed on all class members is punitive, intended to intimidate class members from objecting.

 If the settlement requires claimants to sign the Claim Form under penalty of perjury and

 acknowledge all claims may be subject to audit, verification and Court review, there is no valid

 rationale for imposing a more burdensome requirement on objecting class members.

         In all likelihood, absent any valid reason, the purpose of the stringent documentation

 requirement is to minimize the ability of such objectors to appeal. However, “[i]mposing too

 great a burden on an objector’s right to appeal may discourage meritorious appeals or tend to

 insulate a district court’s judgment in approving a class settlement from appellate review.”

 Vaughn v. American Honda Motor Co., 507 F.3d 295, 300 (5th Cir. 2007).




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             This Court granted class certification despite the apparent lack of a “reliable and
 administratively feasible” way to identify class members (including claimants, opt-outs and
 objectors). Doc. 556, citing Mullins v. Direct Digital, LLC, 795 F.3d 654, 657 (7th Cir. 2015). Cf
 7A Charles Alan Wright et al., Federal Practice and Procedure § 1760 (3d ed. 2005) (The
 ascertainability standard under Rule 23 will not be deemed satisfied “unless the class description is
 sufficiently definite so that it is administratively feasible for the court to determine whether a particular
 individual is a member.”) If objectors must prove membership in the class, then Mrs. Marlow submits
 that all claimants and persons opting out of the settlement should suffer the same burden.
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                                         CONCLUSION

        For the reasons stated, the Court should deny Plaintiffs’ motion for final approval, deny

 Class Counsel’s motion for attorneys’ fees or substantially reduce the award from that requested

 and award the named Plaintiffs a service award commensurate with their actual efforts on behalf

 of the class not to exceed $5,000 per person.

        Respectfully submitted, this 17th day of November, 2018.


                                                      /s/ Mark J. Downton
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                                CERTIFICATE OF SERVICE

        Pursuant to Local Rule 7.1(b), I certify that a copy of this Objection was served upon on

 all counsel of record registered for ECF notifications on November 17, 2018, via the Court’s

 CM/ECF system, and to the following via Federal Express:

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